                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                            DOCKET NO. 5:05CR258-V


UNITED STATES OF AMERICA                            )
                                                    )
             v.                                     )         ORDER
                                                    )
BRANDON BEAMAN,                                     )
                                                    )
                  Defendant.                        )
__________________________________________


      THIS MATTER is before the Court on counsel for the Defendant’s “Motion To Join Co-

Defendants Motions” (document #94) filed February 13, 2006, which is hereby GRANTED.

      The Clerk is directed to send copies of this Order to counsel for the parties.

      SO ORDERED.


                                                Signed: February 13, 2006




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